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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                           :   Chapter 11
In re:                                                     :
                                                           :   Case No. 20-10361 (KBO)
HYGEA HOLDINGS CORP., et al.,                              :
                                                           :   (Jointly Administered)
                  Debtors.1                                :   Hrg. Date: 3/24/2020 at 2:00 p.m. (ET)
                                                           :   Obj. Deadline: 3/13/2020 at 4:00 p.m. (ET)
                                                               Related to Docket No. 41
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                        NOTICE OF HEARING ON
           DEBTORS’ MOTION FOR ENTRY OF ORDER AUTHORIZING
       DEBTORS TO ASSUME THE RESTRUCTURING SUPPORT AGREEMENT

TO:     (a) the U.S. Trustee; (b) counsel to the Debtors’ prepetition secured lender; (c) the parties
        included on the Debtors’ consolidated list of their 40 largest unsecured creditors; and
        (d) all parties entitled to notice pursuant to Del. Bankr. L.R. 2002-1(b).

       PLEASE TAKE NOTICE that, on February 20, 2020, the above-captioned debtors and
debtors-in-possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of Order
Authorizing Debtors to Assume the Restructuring Support Agreement [Docket No. 41] (the
“Motion”), seeking entry of an order authorizing the Debtors to assume that certain Restructuring
Support Agreement, dated as of February 7, 2020, by and among the Debtors, on one hand, and
Bridging Income Fund LP and Bridging Finance Inc., on the other hand.

        PLEASE TAKE FURTHER NOTICE that an objection, if any, to the Motion must be
in writing, filed with the Court, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801, and
served upon the proposed counsel for the Debtors listed below, so that it is received on or before
MARCH 13, 2020 AT 4:00 P.M. (ET).



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  The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management
Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861);
Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC
(1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp.
(2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida,
LLC (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC
(5862); Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center,
LLC (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc.
(6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO LLC (7738); Palm
Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468); Physician
Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883); Physicians
Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and Professional
Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street, Suite 280,
Miami, FL 33174.
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       PLEASE TAKE FURTHER NOTICE that a hearing on the Motion, if necessary, will
be held on MARCH 24, 2020 AT 2:00 P.M. (ET) before the Honorable Karen B. Owens,
United States Bankruptcy Judge, United States Bankruptcy Court for the District of Delaware,
824 North Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware 19801.

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

Dated: Wilmington, Delaware
       February 28, 2020

                                      COLE SCHOTZ P.C.

                                      /s/ J. Kate Stickles
                                      J. Kate Stickles (I.D. No. 2917)
                                      500 Delaware Avenue, Suite 1410
                                      Wilmington, Delaware 19801
                                      Telephone: (302) 652-3131
                                      Facsimile: (302) 652-3117
                                      kstickles@coleschotz.com

                                      – and –

                                      Michael D. Sirota (admitted pro hac vice)
                                      Felice R. Yudkin (admitted pro hac vice)
                                      Jacob S. Frumkin (admitted pro hac vice)
                                      Michael Trentin (admitted pro hac vice)
                                      25 Main Street
                                      Hackensack, New Jersey 07601
                                      Telephone: (201) 489-3000
                                      Facsimile: (201) 489-3479

                                      Proposed Counsel to Debtors
                                      and Debtors-in-Possession




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